Fill in this information to identify the Fill in this information to identify the case:
  Debtor 1 Jack Stevenson Bogart, Jr. aka Jack Bogart aka Jack Bogart, Jr. aka Jack Stevenson Bogart aka Jack S.
  Bogart aka Jack S. Bogart, Jr.

  United States Bankruptcy Court for the MIDDLE District of Pennsylvania


  Case number 18-05281 RNO




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                        Quicken Loans, LLC Formerly Known (FKA) as
 Name of creditor:                                                                       Court claim no. (if known):                                   7
                        Quicken Loans Inc.

 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account: 5750                                                     Must be at least 21 days after date           12/01/2020
                                                                                         of this notice

                                                                                         New total payment:                        $1,031.38
                                                                                         Principal, interest, and escrow, if any
  Part 1: Escrow Account Payment Adjustment

  1.   Will there be a change in the debtor’s escrow account payment?
       
        No
       
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why:


                Current escrow payment: $264.88                                        New escrow payment:           $ 288.11


 Part 2:     Mortgage Payment Adjustment


  2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
       debtor's variable-rate account?
       
        No
       
        Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:


                Current interest rate:                                %                New interest rate:                             %

                Current principal and interest payment: $                           New principal and interest payment: $


 Part 3:      Other Payment Change

  3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       
        No
       
        Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                Reason for change:                                                                                                              _

                Current mortgage payment: $                                            New mortgage payment: $




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Debtor(s)        Jack Stevenson Bogart, Jr.                                               _         Case number (if known) 18-05281 RNO
                  First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     
      I am the creditor.

     
      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 /s/ Rebecca A. Solarz                                                                             Date       10/22/2020
     Signature




 Print:              Rebecca A. Solarz                                                         _    Title   Attorney for Creditor_____
                     First Name                      Middle Name          Last Name




 Company             KML Law Group, P.C.__________________________


 Address             701           Market Street, Suite 5000______________
                     Number                 Street
                    Philadelphia,                                          PA         19106
                     City                                                 State          ZIP Code



Contact phone      (215) 627–1322                          Email rsolarz@kmllawgroup.com




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